                             Case 24-11361-LMI           Doc 15      Filed 03/29/24       Page 1 of 2


                                     UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA, MIAMI DIVISION




  RE: Alejandro Martinez Isla                                                          CASE NUMBER: 24-11361 - LMI

                          TRUSTEE'S NOTICE OF DEFICIENCY AND RECOMMENDATION
                             (If this case is dismissed, this deficiency is an objection to reinstate)

 The Trustee reviewed this case and found the following deficiencies remain unresolved from the Trustee's letter or
 requirements under the Bankruptcy Code and Rules. The Trustee reserves the right to raise additional objections
 UNT!!, all documents are provided to the Trustee and reviewed.for issues raised and additional documents needed.
 Sec Court Notice of Commencement for additional information and Trustee's website www.CH13miami.com for
 forms and roccdurcs.
 As appropriate, all written responses or documents must be received through BKDOCS.US or filed with the Clerk by
 5pm at least I 5 days prior to the first confirmation hearing or agreed deadline if confirmation is continued. Pro Se
 debtors may fax documents to 954-443-4452. Late documents may not be reviewed or considered, and this case may
 be at risk of dismissal. The Trustee's Office has a "Pre-call" date, THE THURSDAY PRIOR TO TllE HEARING.
 During this period, the Debtor's or Creditor's attorney must call and speak to the Trustee's staff attorney unless they
 agree to the Trustee's recommendation. A final calendar will be published with any changes of this recommendation
 the da before the hearin' on the front a 1 e of the Trustee's website.
      ***RECOMMENDATIONS ARE CHANGED UPON REVIEW OJ<' DOCUMENTS NOT RECEIPT***

                                                                                        LAST REVIEWED: 3/18/2024

 [] Plan served                                                                         IZl Objection to Exemption: THE
If debtor's counsel appears, confirms service, agrees to vesting and the recommendation on the record:
 Debtor to file or provide written explanation and evidence at least 15 days prior to the first confirmation hearing:

              I Documents required prior to the Trustee conducting or concluding the meeting of creditors:
  (Trustee reserves the right to recall meeting of creditors until all documents in this section are provided and reviewed):

 !;><;J   Tax returns,;, 2023 D Missing Schedule C and/or Part 1
 l:><J    Photo ID (color copy)
 !;><;I   Bank Account Statements: #6918 (1217-2/13)

          From Bank Statements:
          D Copy of chcck(s) and explanation/evidence of use over $999.99,;,
            Explanation of withdrawal/debit/transfer and evidence of use over $999.99: #6918 12/1 $1000
          [g]
[]        Domestic Support Obligation form (complete with name, address, and phone number)

                                   II Plan issues to resolve prior to the co11{irmatio11 hearing:

          Attorney fee itemization or Fee Application needed (see court guideline 6)
          20 I 6(b ), SOFA 1116 and Plan do not match
D         Motion in plan not filed: D MMM D Valuation D Lien Avoidance Motion[] SLP Notice and/or Motion
          Plan docs not fund properly,;,
D         Amend Plan to include in other provisions: D lVL (Miami) D 100% D Lawsuit D Gambling D MMM
          Plan docs not disclose treatment of all Sch D, E or G creditors,;,
D         Creditor in Plan is not listed in Schedules or has not filed a POC,;,
[]        Creditor paid through the Plan has not filed a POC,;,
l:><:I    Object or Conform to Proof of Claim: CT CL 3
                                Case 24-11361-LMI           Doc 15      Filed 03/29/24        Page 2 of 2



            lg] IRS_D Miami-Dade County D Tax Certificate (DE#_      ) D Dept of Revenue
CJ          CHI !ER PLAN ISSUES:
IXJ         Ch 7 is$ 9030 may increase until all documents received and reviewed
            Good faith payment to unsecured creditors
D           I 00% Plan issue with filed claims

                                      III Documents required prior to the confirmation hearing:

~           LF 76 (Attorney Compliance with Claims Review) Bar Date: 4/23/24
D           Other~


                              Legal issues to resolve prior to the co11{irmatio11 heari11g (reviewed at 341):

       Proof of household size (government ID w/ address) and income of all adults disclosed on Sch .J and CM!
[::><::J

l:><:J Schedule .J Expenses: Li Provide Proof of line 4, 6A, 6B, 6D, 1~1 Objectionable Linc ... _______ _
           Info on transfer SOFA·----------- undisclosed___ _________   D provide Tolling Agreemcnt(s)




D Reserves right to Recall for additional reasons
D fl I 00% language is removed, Debtor to provide documents/resolve issues on all prior deficiencies
contemporaneously with .filing <~l amended plan.
D Documents not provided at least 7 days prior to 341 meeting; additional proof and information may be
necessary.




I hereby certif.i1 that a true and correct copy of the foregoing was served through ECF on the debtor's attorney or by U.S. First
Class pre-paid Mail on the prose debtor on the same day.filed with the Court.

                                                                                           Submilled by. NANCY K. NUD!CH, !~SQ
                                                                                           STANDING C!JAPnR 13 TRUSnt~
                                                                                           P.O. BOX 279806, MIRAMAR, Ff, 33027
                                                                                           (954) 443-4402




Puge 2 of2                                         24-11361 - LMI
